   Case: 1:14-cr-00079-MRB Doc #: 24 Filed: 02/18/15 Page: 1 of 2 PAGEID #: 72



                            UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION




UNITED STATES OF AMERICA,                                     case no. CMcrcni

                                                              SUPERSEDING
                                                              INFORMATION


                                                              18 U.S.C. § 2422(a)

DANA BETTS
                                                              FORFEITURE




The United States charges that:



                                             COUNT 1
                                   (Coercion and Enticement)

       Between May 26, 2014 and June 19, 2014, in the Southern District of Ohio, the

defendant, DANA BETTS, knowingly persuaded, induced, enticed or coerced an individual to

travel in interstate or foreign commerce to engage in prostitution, or any sexual activity for

which any person can be charged with a criminal offense, or attempted to do so.

       In violation of Title 18, United States Code, Section 2422(a).


                                 FORFEITURE ALLEGATION

       Upon conviction of an offense alleged in Count 1 of this Superseding Information, the

defendant shall forfeit to the United States the defendant's interest in:
   Case: 1:14-cr-00079-MRB Doc #: 24 Filed: 02/18/15 Page: 2 of 2 PAGEID #: 73



        1.     Any property, real or personal, used or intended to be used to commit or to

facilitate the commission of any violation of this chapter;

       2.      All property, real or personal, that constitutes or is derived from proceeds

traceable to any violation of this chapter, including but not limited to:

               a. LG mobile telephone, model LG236C, serial number 307CYBD0148101.


       All pursuant to 18 U.S.C. §2428.




CARTER M. STEWART
UNITED STATES ATTORNEY




ANTHONY SPRINGER
CINCINNATI BRANCH CHIEF




                                              Page 2 of2
